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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

FLOYD’S 99 HOLDINGS LLC                    Case No. 2:12-CV-14696-GER-PJK

         Plaintiff
                                           Hon. Gerald E. Rosen
v                                          Magistrate Judge Paul J. Komives

JUDE’S BARBERSHOP, INC., et al

         Defendants.
                                      /

                                 APPEARANCE

         Homayune A. Ghaussi of the law firm of Warner Norcross & Judd LLP

hereby enters his appearance as counsel for and on behalf of Plaintiff Floyd’s 99

Holdings, LLC in the above-entitled action.

Dated: July 31, 2014                  /s/ Homayune A. Ghaussi
                                       Homayune A. Ghaussi (P63028)
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                            CERTIFICATE OF SERVICE

         I certify that on July 31, 2014, I electronically filed the above Appearance

with the Clerk of the Court using the ECF system, which will send notification of

such filing to all counsel registered electronically.

                                          /s/ Homayune A. Ghaussi
                                          Homayune A. Ghaussi (P63028)




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